890 F.2d 1088
    UNITED STATES of America, Plaintiff-Appellee,v.Lyle Gerald JOHNS, Defendant-Appellant.
    No. 86-1220.
    United States Court of Appeals,Ninth Circuit.
    Dec. 7, 1989.
    
      1
      Before MERRILL and NORRIS, Circuit Judges, and ENRIGHT,* District Judge.
    
    ORDER
    
      2
      The Memorandum disposition, filed March 31, 1989, 872 F.2d 431, is hereby withdrawn.
    
    
      
        *
         Honorable William B. Enright, United States District Judge for the Southern District of California, sitting by designation
      
    
    